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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                 :               21 Cr. 537 (JMC)

v.                                            :

JAMES TATE GRANT                              :

Defendant.                                    :


                                              ORDER

       Upon consideration of the Defendant’s Motion For Pretrial Release and the entire record

herein, and it appearing that there are conditions of release that would protect the safety of the

community and reasonably assure the defendant’s return to Court, it is this, ____________ day

of April, 2023;

       ORDERED, that the defendant’s motion is granted and the defendant is released to the

High Intensity Supervision Program under the following conditions: (1) home detention at his

parent’s home in North Carolina; (2) GPS monitoring; (3) no access to electronic devices

(including cellular phones and/or computers) except to communicate with Pretrial Services of his

defense attorney; (4) daily check in with Pretrial Services; (5) drug treatment and testing; and (6)

any other conditions of release that Pretrial Services deems necessary and appropriate.




                                              ____________________________
                                              JIA M. COBB
                                              United States District Judge
